Case 09-13039-KG Doc 1 Filed 09/01/09 Page 1 of 16

B t {On'tcia) norm i) ti/os)
United Stat& Bariltruptcy Court

District of Delaware

     

 

 

Name of Debtor ifindivi uel, enter Last, First, Middle):
a male Houii ,i c.

   

Nameor)omtoeb r(spo e)(La . ers,M city

 

All Other Names used by the Debtor in the last 8 years
{include marricd, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soci Sec, or lndvldual'Taxpayer l.D. (lTIN) No./Complete EIN

g§zcir§bh§z%i§, state all).'

Last four digits ofSoci Sec. or bidvldual~Taxpayer IrD, (lTIN) No./Complete EIN
(lf more than one, state all):

 

Street Address ofDebtor (No. and Streei, City, and State):

Street Acldress of.loint Debtor (No, and Street, City~ and Statc):

 

 

 

 

 

 

 

Tax~Exempt Entity
(Check box, il“ applicable.)

l;] chtor is a tax~exempt organization
under Title 26 of the Unitcd States
Code (the internal Revenue Codc).

 

30-30 47lh Avenua, th F|oor
Long leland Clty, NY
EIP CODE l l ml l E[P CODE l
C only of Rc§$nce or of the Principal Place ol`Bustness: County of Residenee or of the Principal Place of Business:
dUGOIlS,
detailing Address of Debtor (it' different from street address): Mailing Adclress of loint Debtor (it` different from street address):
[ZIP CODE l EIP CODE l
Locatlon of Princtpal Assets ofBusiness Debtor (lt` different from street address abovc);
El}’ CODE l
Type of chtor Nature of Business Chapter of Bankniptcy Code Utider Wliieh
{Form of Organization) (Check one boxl) the Petitlon is Flled (Cheek one box,)
(Check one hox.)
m Health Care Business m Chapter 7 [:\ Chaptcr l5 petition for
U individual (includes Joint Debtors) m Single Asset Real Estate as defined in [:] Chapter 9 Reeognition of a Foreign
See E,:in'br`t D on page 2 ¢)fihlsfo)'ml l l U,S.C, § lOl(S IB) ll Chapter l l Main Proceeding
[I Corporation (includes LLC and LLI’) l:] thilroad l:] Chaptcr 12 l:l Chaptcr 15 Petltion for
[:] partnership m Stockbroker m Chaptcr 13 Recognition of a Foreign
[:] Other (lf debtor is not one of the above entities_ [J Contmodity Broker Nonmain Proeeeding
check this box and state type of entity below,) § Clearing Bank
0 tier l\‘ature of Debts
m ant sen/loss remit me bow

g Debts are primarily
businms debts.

l:] Debts arc primarily consumer
debts. defined in ll U.S.Ci
§ 101(8) as “incurred by an
individual primarily for a
personal, family, or house-
hold purpose."

 

 

Fi\ing Fec (Chei:lt one bo)t,)

il

Full Filing Fee attached

Filing Fee to be paid in installments (applieable to individuals only), Must attach
signed application tor the courts consideration certifying that the debtor is
unable to pay fee except in installments Rulc ll)llé(b), See Ol’l'icial Form 3A(

Filing Fee waiver requested (applicable to chapter 7 individuals only), Must
attach signed application for the court’s consideration See Ofl'icial Form BB.

 

Chapter ll Debtors
Checlt one box:
1:] Debtor is asmall business debtoras defined in ll U.SiC. § lOl(SlD),

g Debtor is not a small business debtoras defined in ll U.S.C, § lOl(SlD).

Check lf:

['_'l Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,190,000,

Check all applicable boxes:
A plan is being filed with this petition

I:J Aceeptances of the plan were solicited prepetition from one or more classes
of creditors in accordance with ll UiSiC. § llzé(b)t

 

 

 

 

 

Stetisticol!Administratl\/e information Ttt\S SPACE ls FGR
CD\JRT use ONLV
w Debtor estimates that funds will be available for distribution to unsecured creditors
l:] Debtor estimates thm, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors
Estimatcd Nurnber of Croditors
iii l:l L'§l l:l 13 lI] ll l:l l:,l [:l
1~49 50»99 l 00~ l 99 200~999 l,OOG~ 5,00\ ~ l0,00 l » 25,00 l » 50,00 l ‘ Over
5,000 10,000 25,000 50,000 100,000 l 00,000
Estimnted Assets
l.'_l l.".] l:l Cl E] l'_"l [J

$O to SS0,00I to $lOD,OOl to 5500,00| $ l ,000,001 5 l0,000,00l 350,000,001 $lOG,OO0,00l $500,000,001 More than
$50‘000 5100,000 SSOO,GOO to $l to SlO to 350 to $lOO to 5500 to Sl billion Sl billion

million million million million million
Estimated Liabilities

lI] ij l:l l:l l:l l.'_'l lIl
30 to 550,001 to $lO0,00l to $500,001 $l,OO0,00l 310,000,00| SSO,GO0,00l 5100,000,001 3500,000,001 More than
$50,000 5100,000 $500,000 to Sl to $lO to SSO to $lOO to 3500 to $l billion $l billion

million million million million million

 

 

 

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B l (Ot`i'tcial Form l) (l/OS) PageZ
`Voluntary Petitioo time ol`De o s):
(Thi's page must be completed and/lied in every case.) M'Qy%ar&a Holdmgsr mc-
All l’rior Bankruptcy Cases Filed Within Last 8 Years (lf more than two, attach additional sheet.)

LOCallGn Case Number. Date Filed:

Wherc Filed;

Loeation Case Num’ocn Date Filed;

Where Filed:

Pendi_n_g Bankru_ptcv Case Filed by any Spouse, Partner, or Afliliate of fig Debtor (It` more tha_§_t one, attach ad itional sheet.)
Name oi"Debtoc Case Number. Date Filed:
See Sohedule 1
D‘strict: , . l t` h` : l d :
' District of Delaware RC a ’°“s 'p “ ge
Exhibit A Exhibit B
(To be completed il` debtor is an individual

(To be completed if debtor is required to t'rle periodic reports (e.g., forms lOl< and whose debts are primarily consumer debts.)

lOQ) with the Sceurities and Exchange Commission pursuant to Section 13 or l5(d)

ofthe Sceurities Exehangc Aet of l934 and is requesting relief under chapter l l,) l, the attorney t"or the petitioner named iri the foregoing petition, declare that l
have informed the petitioner that fha or shc] may proceed under chapter 7, ll,
12, or l3 of title ll, Uru`ted States Code, and have explained the relief
available under each such ehapter. l further certify that 1 have delivered to the
debtor the notice required by l l U.S.C, § 342(1))A

g Exhlbit A is attached and made a part ot` this petition X

Signatur<: of Attorriey for Debtorfs) (Date)

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
{:'l Yes. and Exhibit C is attached and made a part ol‘ this petition

m No.

 

Exhibit l)
(To be completed by every individual denton lf ajoint petition is hled, each spouse must complete and attach a separate Exhibit D.)
l:] Exhibit D completed and signed by the debtor is attached and made a part of this petition
lf this is ajoint petition:

ij Exhibit D also completed and signed by the joint debtor is attached and made a pan of this petition

 

lufnrmn¢lon chnrding the Del)tor ¢ Vertue
(Check any applicable box.)
g Del)tor has been domiciled or has had a residence principal place of business or principal assets in this District for l80 days immediately
preceding the date of this petition or for a longer part of such l80 days than in any other District.

l:l There is a bankruptcy case concerning debtor’s affiliatel general partner, or partnership pending in this Distriet.
m Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Statcs in this District, or

has no principal place of business or assets in the United Statcs but is a defendant in an action or proceeding [in a federal or state court1 in
this Distn`ct, or the interests of the parties Will he served in regard to the relief sought in this District.

 

Certitlcation by a Dehtor Who Resides as a Tennnt of Residentinl Property
(Cheelr all applicable boxesr)

[] Landlord has a judgment against the debtor for possession ot`debtor`s residence (if box checked, complete the t‘"ollowing.)

 

(Name ot` landlord that obtained judgment)

 

(Address of landlord)

[] Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to thejudgment for 1;\<)rtsession1 after the judgment for possession was enteredl and

l___l Debtor has included with this petition the deposit with the court of any rent that would become due during the 30~day period alter the
filing of the petition

[:] Dehtor certifies that hrc/she has served the Landlord with this certification (ll U.S.Cr § 362(|)).

 

 

 

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B l (Ofl`tcial Form) l (1108)

Pags 3

 

Voluntary Petition
7'his page must be completed and filed in every case.)

Namc of Debtor(s):

Cynergy Data Ho|dlngs, lnc.

 

 

Slgnatures

 

Signsture(s) of chtor(s) (lndlvidual/Jolnt)

l declare under penalty of perjury that the information provided in this petition is true
and correct

[lt` petitioner is an individual whose debts are primarily consumer debts and has
chosen to Elc under chapter 7] l am aware that 1 may proceed under chapter ?, ll, 12
or 13 of title ll, Um`lcd States Code, understand the reiiefavailable under each such
chaptcr, and choose to proceed under chapter 7`

[1f no attemcy represents me and no bankruptcy petition preparer signs thc petition} l
have obtained and read the notice required by 11 U_S.C. § 342(1)).

1 request relief in accordance with the chapter ot` title ll, Ur\ited States Code,
specified in this petition

X

 

Signaturc of Debtor

 

Signature of.loiot Debtor

 

Telephonc Number (if not represented by attomey)

 

Signature of a Foreigu Represeutativc

t declare under penalty of perjury that the information provided in this petition is true
and correct, that l am the foreign representative of a debtor in a foreign proceeding
and that l am authorized to file this petition

(Chcck only one box.)

[:] l request relief in accordance with chapter 15 of title l 11 United Statcs Codc,
Certifted copies of the documents required by 11 UiS.C, § 1515 arc attached

[:l Pursuant to lt U.S.C, § 15|1, 1 request rcliet‘in accordance with the
chapter of title l l specified in this petition A certified copy of thc
order granting recognition of the foreign main proceeding is attached

 

(Signaturc ofForeign Reprcsentative)

 

(Pn`nted blame of Foreign chresentutivc)

 

Date

 

Daler_\

st nature orArtcmt roro¢vior(s)
Mcn;@,§gn

 

 

Printcd Name of Attorney for Debtor(s)
Pepner Ha_rn@n LLP

F‘"“ N”i’temuies Ptaza, suits 5100, 1313 Man<ei St
names P.G. Box1709, Wllmlngton, DE 19899~1709

 

 

Telephooe Number

 

 

Datc

"In a case in which § ?07(1:))(4)(!)) npplies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect

 

 

Signature of l)ebtor (Corporation/Psrtncrship)
l declare under penalty of perjury that the information provided in this petition is true

and correct and that 1 have been authorized to tile this petition on behalf ot` the
debtor 1

'l”he debtor reque
Code. specit`) g

X
Si§naturc of Authorized Individual
Pr‘ tedN cofAutho ' cdi ' idusl
dilile Yemmctu ng Micer
Titlc ofAnth rizcdl iv` ual
s?/Pe//S

Datc 7 / "'

  

 

 

Signature of Non-Attorncy Bankruptcy petition Preparer

1 declare under penalty of perjury that (l)l am a bankruptcy petition preparer as
defined in ll U.S.C. § llil; (2)1 prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under l l UrS.C. §§ llO(b), l li)(h), and 342(i)); and. (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C, § 1 lO(h) setting a maximum
fee for services chargeable by bankruptcy petition prcparers, l have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section Off~'icial Form 19 is
attached

 

Printed blame and titlc, if any, ofBanl-truptcy Petition Prcparer

 

Sociai-Seeurity number (If the bankruptcy petition preparer is not an individual,
state the Socittl~Security number of the oi¥'iccr, principai, responsible person or
partner ofthc bankruptcy petition preparer.) (Requircd by ll U<S.C. § llO.)

 

Address

 

 

 

Date

Signaturc of bankruptcy petition preparer or of`i`tcer, principal, responsible person, or
partner whose Sociai-Sccurity number is provided above

Names and Social-Seeuriry numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual

Il" more than one person prepared this documentl attach additional sheets conforming
to the appropriate official forth for each person

A bankruptcy petition preparer 's failure m comply with the provisions ojlr`tle // and
the Federal Rules of Bnn/tru;)tcy Procedure may resqu in fines or imprisonmem or
both ll U.S.C. § H(); l8 U.S.C. §1'56.

 

 

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B m (orriciai Form i, Exm'bn A) (9/97)

1 debra is re u'red 0 il eric ic re rr e. ., arm IUK d/0 withthe Securi'ties andEx han Commi`ssion rs a tro
ec;;’!igir; [£1 Q;é;$ f eoj;;i,z:‘;p§§‘;¢dricrzi:j S§§g§§%£chf;)i];eli.?gnuji€!nis req?esring relief under chapter IC/ oleeie Bankruplcy!¢)jgodg, t is

UNITED STATES BANKRUPTCY COURT

District of Delaware

m re Cynergy Data Ho|dings, lnc. Case No,

Debtor
Chapter ll
EXHIBIT “A” T() VOLUNTARY PETITION

1. ll` any of the debtor’s securities are registered under Section 12 of the Securities Exchemge Act of 1934, the
SEC file number is

 

2. The following financial data is the latest available information and refers to the debtor’s condition on

.JMD§.§Q._ZQQQ_..__.."__.

 

 

 

 

 

a. Total assets S 0-00

b. Total debts (including debts listed in 2.c., below) $ _____.,,,.__,__,___Q._QQ

c. Debt securities held by more than 500 holders: A§§rol;cé;ng e

o ders:

secured ij unsecured CJ subordinated D S

secured D unsecured CJ subordinated 0 $

secured 111 unsecured [J subordinated [J S

secured 13 unsecured CJ subordinated CJ S

secured El unsecured U subordinated D 5

 

d. Numl)er of shares of preferred stock

 

c. Number of shares common stock 5 §§1 3

Comrnents. if anv:

 

3, Brief descriotion of debtor’s business:
Credlt card processing services

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or

more of the voting securities of debtor: w ,.`
Maroe|o Paladlni owns 92% of Cynergy Data Holdings, lnc.

 

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Schedule 1

Pending Banl<ruptcy Cases Filed by any Spouse, Par'tner, or Aff`iliate of This Debtor

 

 

 

Name of Case Date Filed District Relationship Judge
Debtor Number
Cynergy Delaware Debtor owns
Data, LLC 100% of
Cynergy Delaware Cynergy
Prosperity Dai;a, LLC
Plus, LLC owns 1000/o

 

 

 

 

of

 

 

#l 1435673 vl
NP; 12684944.1

 

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I)ECLARATI()N UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION ()R PARTNERSHIP

I, Charles M. Moore, the Chie;t` Restructuring Off`tcer of the entities named as the debtors
in this ease, declare under penalty of peijury that I have read the foregoing consolidated list and
that it is true and correct to the best of my information and belief

Dat€ g/gz%j? Signature WM /‘//»{w

Name: Charles M. Moore
Title: Chief Restructuring Officer

 

 

Penal!yfor making a false statement or concealing property.' Fine of up to $500,000 or
imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

l2679458.2

134 (Official Form 41 (12/07)

United States Bankruptcy Court
District of Delaware

in re Cynergy Data, LLC, et al

 

Debtor(s)

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Case No. 09~

 

Chapter 1 1

 

CONSOLIDATED LIST OF CREDITORS HOLI)ING 25 LARGEST UNSECUREI) CLAIMS

Following is the consolidated list of the debtors’ creditors holding the 25 largest unsecured claims The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in these chapter ll [or chapter 9] cases The information
contained in the list is based on the debtors’ books and records as of l\/lay 28, 2009. The list does not include (1) persons
Who come within the definition of "insider" set forth in ll U.S.C. § 101, or (2) secured creditors unless the value of the
collateral is such that the unsecured deficiency places the creditor among the holders of the 50 largest unsecured claims lf a
minor child is one of the creditors holding the 50 largest unsecured claims, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name See ll U.S.C. § 112; Fed. R. Banl<r. P. 1007(m).

 

(l)

Ncrme of creditor and Complete
mailing address including zip
code

(7~)

Nr:)me, telephone number and complete
mailing address including zip code of
employee ogent, or department of creditor
familiar with claim who may be contacted

Nolzrre of claim (rrade

(3)

debt, bank loon,

government contract

etc.)

(4)

/ndz`ccrte §fclaim is
contingent,
unliquidated
disputed or subject

to selojj”

(5)

Amowit ofclat`m [z'f
secured also stale
value of securing

 

PROCESS AMERICA

Kll\/l RICKETTS

CRAIG RICHARDS
KEITH PHILI

21617 NORDHOFF ST
CHATSWORTH, CA 913 ll

Trade Debt

$2,807,231

 

PAYMENTECH

CHRISTOPHER BUTTS
CHASE PAYMENTECH
SOLUTIONS, LLC

PO BOX 809001
DALLAS, TX 75380»9001

Trade Debt

$2,629,783

 

TSYS

KRISTI PENNINGTON
8320 S. HARDY DR.IVE
TEMPE, AZ 85284

Trade Debt

31,460,140

 

WWWMYGRANTSITENET
8774951 145

JEREMY JOHNSON
249 E TABERNACLE ST
GEORGE, UT 84770

Trade Debt

$1,377,254

 

SECOND SOURCE

CUSTOMER SERVICE
55 BROAD ST, ZND FL
NEW YORK, NY 10004

Trade Debt

$1,057,199

 

DJM*LIFSTYLEFIT.COM

 

 

RYAN RIDDLE
1285 BAR.ING BLVD, STE 506
SPARKS, NV 89434

 

Trade Debt

 

 

$900,'764

 

#11435678 \'1

 

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WWW FEDGRANTUSA
COM

RYAN RIDDLE
1285 BARI,NG BLVD, STE 506
SPARKS, NV 89434

Trade Debt

3812,629

 

MERCHANT PROCESSING
SERVICES, CORP

VLADIMIR SADOVSKI`Y
132 W 36TH ST, 3RD FLOOR
NEW YORK, NY 10018

Trade Debt

3756,782

 

Pl\/'OTAL PAYMENTS

MERCHANT SUPPORT

200 BROAD HOLLOW R,()AD
SU[TE 207

SYOSSET, NY 1 1747

Trade Debt

3509,068

 

FAST TRANSACT

DAVID B. SOLOMON

LlSA RIVERA

673 W()ODLAND SQUARE LOOP
SE, SUITE 401

LACEY, WA 98503

Trade Debt

$503,110

 

BUSINESSFUND 8004101682

JEREMY JOHNSON
249 E TABERNACLE ST
GEORGE, UT 84770

Trade Deht

3493,692

 

SignaPay

JOHN R MARTILLG
105 DECKER CT 650
lRVlNG, TX 75062

Trade Debt

$465,507

 

NATION WI,DE HOME
WARRANTY

MORRIS LINEER

2711 CONEY ISLAND AVENUE
2ND FLOOR

BROOKLYN, NY 11235

Trade Debt

3415,585

 

US ONLINE AMERlCA
GROUP

LANCE TYRNER
404 W BROADWAY RD STE 107
TEMPE, AZ 85282

Trade Debt

191100j l 35

 

VACATION CLUBS

DARYL TURNER
926 HADDONFIELD RD # 356
CHERRY HILL, NJ 8002

Trade Debt

3397,924

 

'EPAY DATA

MICHAEL DlNNEN
3025 S PARKER RD, SUlTE 610
AURORA, CO 80014

Trade Debt

3382,829

 

DEBlT TECHNOLOG'IES,
INC

RANDALL VESELKA

KATHY WATSON

700 CORPORATE CIR, SUITE E
GOLDEN, CO 80401

Trade Debt

$382,263

 

QUICKGRANTPR08663 7072
70

 

 

JEREMY JOHNSON
249 E TABERNACLE ST
GEORGE, UT 84770

 

Trade Debt

 

 

$319,347

 

#11435678 vi

 

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NETWORKAGENDACOM DUANE FIELDING Trade Debt 3315,277
8004189320 249 EAST TABERNACLE, STE 105
ST GEORGE, UT 84770

 

CAL NUTRASCIENCES INC PAUL GRARE'I`TE Trade Debt $292,513
1905 ASTON AVE, STE 101
CARLSBAD, CA 92008

 

1 FORTUITY TIMOTHY WOODS Trade Debt $266,347
2510 W DUNLAP AVE, STE 440
PHOENIX , AZ 85021

 

GRAVITY PAYMENTS LUCAS PRICE Trade Debt $263,702
1434 ELLIOTT AVE W, SUIT,E C
SEATTLE, WA 98119

 

TR,IBUL MERCHANT CLIENT SERVlCES Trade Debt $263,543
SERVICES 55 BROAD ST, 2ND FLOOR
NEW YOR,K, NY 10004

 

WOR,LD VENTURES MICHAEL AZCUE Tradc Debt $260,000
5360-1 LEGACY DRIVE, STE 300
PLANC), TX 75093

 

VC()MM STEVEN HENRI,KSEN Trade Debt $255,858
4780 W ANN RD, 5 STE 226N LAS
VEGAS, NV 89031

 

 

 

 

 

 

 

#11435678\/1 3

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In rec Chapter ll
CYNERGY DATA HOLDINGS, INC., Case No. 09- ( )

Debtor.

 

 

 

CERTIFICATION CONCERNING CREDITOR MATRIX

Cynergy Data Holdings, Inc., as debtor and debtor-in-possession (the “Debtor”), hereby

 

certifies under penalty of perjury that the Creditor Matrix as maintained by Ku.rtzrnan Carson
Consultants LLC, pursuant to Local Rule 1007-2 of the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware, is complete and,
to the best of Debtor’s knowledge, correct and consistent with Debtor’s books and records

The information contained therein is based upon a review of Debtor’s books and records
However, no comprehensive legal and/or factual investigations with regard to possible defenses
to any claims set forth in the Crealitor Matrz'x have been completed Theret`ore, the listing does
not and should not he deemed to constitute: (l) a waiver of any defense to any listed elaims;
(2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other

right, defense or legal position of the Debtor.

12683318.3

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l declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information and belief.

Executed this 57 day of August, 2009

Signature: W/// %'\

 

Charles M. Moore
Title: Chief Restructuring Ofiicer

12683318.3 2

 

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IN THE UNI'I`ED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll
CYNERGY DATA HOLDINGS, INC., Case No. 09~ ( )

Debtor.

 

 

LIST OF EOUI'I`Y SECURITY H()LI)ERS OF I)EBTOR
Cynergy Data Holdings, lnc. (“_C_,_l`,)_§”), debtor and debtor~in-possession in the above-
captioned case (the “ertg);”), hereby files its List of Equity Security Holders, pursuant to Rule
1007(a)(3) of the Federal Rules of Bankruptcy Procedure.
Common Stock:`

The holders of common stock of CDH are as follows:

 
     

 

 

 

 

Marce o Paladinl 5,000 91.56
Gustavo Ceballos 230.54 4.22
Andres Ordonez 230.54 4.22
Total: 5,461.08 100

 

 

 

 

12683372.3

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CERTIFICATION CONCERNING LIST ()F E UITY SECURITY H()LDERS

 

I, Charles M. Moore, the Chief Restructuring Officer of the Debtor, hereby certify under
penalty of perjury that the information submitted herewith, pursuant to Local Rule lOO”i-l(a) of
the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
the District of Delaware, is complete and, to the best of the Debtors’ knowledge correct and

consistent with the Debtors’ books and records

Date: August _ZL, 2009 v

Name: Charles M. Moore
Title: Chief Restructuring Officer

|2683372.3

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IN THE UNITEI) STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: Chapter l l
cYNsnGY DATA, LLC, a ar ,‘ ease No. 09~ t )
Debtors. lointly Administered

 

 

CER'I`IFICATION OF RESOLUTIONS

I, Marcelo Paladini, the undersigned Chief Executive Otiicer and member of the Board of
Directors (the “Board”) of Cynergy Data Holdings, lnc. (the “Company”), a corporation
organized under the laws of the State of Delaware, do hereby certify that the following is a true
and Correct copy of the resolutions adopted by the Company on .luly 20, 2009, and that the said
resolutions have not been modified or rescinded and are still in full force and effect on the date

hereof :

WHEREAS, after due consideration, the Board believes it is desirable
and in the best interest of the Company, its direct and indirect
subsidiaries its creditors, members, and other interested parties, that a
voluntary petition be filed by the Company seeking relief under the
provisions Title ll, United States Code (the “ ankruptcy Case”), l l
U.S.C. §§101 et §_e_g. (:the “ ankruptcy' Code”); it is hereby

RESOLVED, that the Chief Executive Officers, including Charles M.
Moore of Conway MacKenzie, lnc., the Company’s Chief Restructuring
Oi`ticer, and any and all other officers of the Company otherwise
authorized by the Board be, and each of them hereby are,

authorized and empowered on behalf of and in the name of the

 

’ The Debtors arc the following entities (witl\ the last four digits oftheir federal tax identification numbers in

parentheses): Cynergy Data, her (8677); Cynergy Data Holdings, lnc. (8208); Cynergy Prosperity Plus, l.LC
(4265). 'l“he mailing address for the Debtors is 30~30 47th Avenue, 9th Floor, hong Island City, New York
l l lOl.

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Company, to execute and verify such petitions under the Bankruptcy
Code and to cause the same to be filed with the United States Banl<ruptcy
Court for the District ofDelaware at such time as the members or
managers executing the petitions on behalf of the Company shall
deterrninc. and it is further

RESOLVED, that any and all of the officers ofthe Company. including
Charles D. Moore of Conway MacKenzie, lnc., the Company’s Chief
Restructuring Ot`ficer, be, and each of them hereby are. authorized on
behalf of and in the name of the Company` to execute and file all
petitions schedules lists and other papers and to take any and all actions
which they may deem necessary or proper in the Cornpany’s Banl<ruptcy
Case; and it is further

RESOLVED, that any and all ofthc officers ofthe Company. including
Charles D. Moore of Conway MacKcnzie, inc., the Company`s Chiet`
Restructuring Otiicer, be, and each ot"them hereby are, authorized and
directed, on behalf of and in the name of the Company, to retain the law
firms of Nixon Peabody LLP and Pepper iiamilton LLP as bankruptcy
and Restructuring counsel to the Company; and it is further

RESOLVEI), that the ofticers, including Charles D. l\/loore ot`Conway
l’vlacKenzie, lnc.. the Company`s Chiet` Restructuring Of`iicer, on behalf
ofthe Company be, and each of them hereby are authorized and
empowered on behalf of and in the name of the Company, to retain and
employ any other attorneys, investment bankers, accountants
restructuring professionals financial advisors and other professionals to
assist the Company`s Banl<ruptcy Case on such terms as are deemed
necessary proper or dcsirablc; and it is further

RESOLVEI), that any or all oi`the officers ofthc Company, including
C`.harles D. Moore of Conway MacKcnzie, lnc.. the Company`s Chief
Restructuring Otticer, each of them acting individually, designated by or
directed by any such officers be, and each of them hereby are respectively
authorized and empowered to cause the Company as such officers
deemed appropriate to enter into, executc, deliver, certify, tile, record
and/or perform such agreements instruments motions, affidavits
applications for approvals or ruling of governmental or regulatory
authorities. certificates and other such documents and take any such
actions as are, in theirjudgment, necessary, proper or desirable to
prosecute this Bankruptcy Case and to carry out and put into effect the
purposes of the foregoing resolutions and the transactions contemplated
by these resolutions their authority thereunto to be evidenced by the
taking of such actions; and it is further

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RES()LVED, that any and all past actions heretofore taken by officers of
the Company, and the Board, in the name of an on behalf of the
Company, in furtherance of any or all of the preceding resolutions be, and
the same hereby are, ratified, approved and adopted

IN W}TNESS WHERE()F, l have hereunto set my hands this‘@day of July, 2009.
Cynergy Data Holdings, lnc.

By: /.

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